                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

SCOTT PURRONE, Derivatively on behalf of             Lead Civil Action No. 3:17-cv-01472
ENVISION HEALTHCARE CORPORATION                      (Consolidated with Nos. 3:17-cv-01550,
f/k/a/ ENVISION HEALTHCARE                           3:17-cv-01570)
HOLDINGS, INC.,
                    Plaintiff,                       Judge William L. Campbell, Jr.
        vs.
                                                     Magistrate Judge Jeffery S. Frensley
WILLIAM A. SANGER, CHRISTOPHER A.
HOLDEN, CAROL J. BURT, JAMES A.
DEAL, LEONARD M. RIGGS, JR., JOHN T.
GAWALUCK, STEVEN I. GERINGER,
JAMES D. SHELTON, JOEY A. JACOBS,
MICHAEL L. SMITH, CYNTHIA S. MILLER,
KEVIN P. LAVENDER, RANDEL G. OWEN,
CLAIRE M. GULMI, MARK V. MACTAS,
RICHARD J. SCHNALL, and RONALD A.
WILLIAMS,

                        Defendants,

       – and –

ENVISION HEALTHCARE CORPORATION
f/k/a/ ENVISION HEALTHCARE
HOLDINGS, INC., a Delaware Corporation,

                           Nominal Defendant.


              JOINT STATUS REPORT AND MOTION TO STAY ACTION

       Plaintiffs Scott Purrone and Ryan Sevy ("Plaintiffs"), defendants William A. Sanger,

Christopher A. Holden, Carol J. Burt, James A. Deal, Leonard M. Riggs, Jr., John T. Gawaluck,

Steven I. Geringer, James D. Shelton, Joey A. Jacobs, Michael L. Smith, Cynthia S. Miller, Kevin P.

Lavender, Randel G. Owen, Claire M. Gulmi, Mark V. Mactas, Richard J. Schnall, Ronald A.

Williams (the "Individual Defendants"), and nominal defendant Envision Healthcare Corporation

("Envision" or the "Company," and, with the Individual Defendants, "Defendants") respectfully

submit this joint status report and motion to stay pursuant to the Court's order dated August 20,




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2018, to update the Court on the status of the Parties' meet and confer efforts and the general status

of this action.

        The Parties have met and conferred on the various issues raised in the Proposed Initial Case

Management Order filed on August 9, 2018, and have agreed as follows:

        A.        Plaintiffs have dismissed without prejudice any and all class claims set forth in the

Verified Amended Stockholder Derivative and Class Action Complaint ("Amended Complaint")

filed in this Action on August 2, 2018. (Dkt. No. 41.)

        B.        The parties have agreed to a stay of all proceedings on Plaintiffs' remaining derivative

claims, pending the outcome of the proposed acquisition of Envision (the "Acquisition"), which is

scheduled for a shareholder vote on September 11, 2018.

        C.        Following the closing of the Acquisition (or the Acquisition's failure to close), should

Plaintiffs intend to pursue this action, the Parties shall meet and confer regarding a schedule for the

filing of any amended pleading and responsive motion or pleading. Defendants shall not be required

to respond to the Amended Complaint or any other pleading filed in this action pending further

agreement of the Parties or order of the Court.

        For the foregoing reasons, the parties respectfully request that the Court stay further

proceedings in this Action pending the outcome of the Acquisition. The parties will confer and file

an updated status report within 30 days of the closing of the Acquisition or a determination that the

Acquisition will not close.




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                                     Kevin P. Lavender, Randel G. Owen, Claire M.
                                     Gulmi, Mark V. Mactas, Richard J. Schnall, and
                                     Ronald A. Williams and nominal defendant
                                     Envision Healthcare Corporation




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on August 30, 2018, the parties' Joint Status Report and Motion to

Stay Action was filed electronically with the Clerk of the Court and served by operation of the

Court's CM/ECF system on the following parties:

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